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          11       MEMORY, INC.

          12
                                               UNITED STATES DISTRICT COURT
          13
                                             NORTHERN DISTRICT OF CALIFORNIA
          14
                                                   SAN FRANCISCO DIVISION
          15

          16
                   ASETEK DANMARK A/S,                            Case No. 3:19-cv-00410-EMC
          17
                                    Plaintiff and                 DEFENDANTS’ REPLY IN SUPPORT OF
          18                        Counter-defendant,            THEIR MOTION FOR SUMMARY
                                                                  JUDGMENT
          19              v.
                                                                  Date:            May 5, 2022
          20       COOLIT SYSTEMS, INC.,                          Time:            1:30 pm
                                                                  Location:        Courtroom 5, 17th Floor
          21                        Defendant and                 Judge:           Hon. Edward M. Chen
                                    Counter-claimant,
          22
                   CORSAIR GAMING, INC. and CORSAIR
          23       MEMORY, INC.,

          24                         Defendants.

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               1   I.      INTRODUCTION

               2           Unable to rebut CoolIT’s summary judgment arguments on the merits, Asetek’s opposition is

               3   reduced to misrepresentations of inapplicable case law and errors in logical syllogisms. Asetek’s

               4   arguments should, respectfully, be rejected and summary judgment granted.

               5           First, summary judgment of noninfringement of the “curved blades” limitation under Asetek’s

               6   DOE theory is proper. Asetek admits that the claimed “curved blades” are nonlinear and that the

               7   CoolIT blades are linear. The inquiry should end here because to find the linear CoolIT blades an

               8   “equivalent” of the nonlinear claimed “curved blades” would violate the specific exclusion principle,

               9   which is a corollary to the vitiation/all-limitations rule. Separately, Asetek’s DOE theory also fails

          10       the “way” and “result” prongs in the function-way-result analysis. As to “way,” it is undisputed the

          11       computer simulation Asetek relies on shows that CoolIT’s blades and the allegedly equivalent curved

          12       blades drive cooling liquid in different ways. As to “result,” Asetek has no evidence at all because

          13       Asetek’s expert never simulated the actual CoolIT impeller blades nor the accused device that the

          14       blades operate in. Summary judgment should, therefore, be granted. Further, all of Asetek’s cited

          15       cases are distinguishable.

          16               Second, summary judgment of noninfringement of the “single receptacle” limitation for

          17       Tamriel is proper because there is no factual dispute regarding its structures, only differing labels

          18       assigned to them by the parties. Under the plain meaning of “receptacle,” Tamriel indisputably has a

          19       first receptacle including the claimed “upper chamber” and a separate second receptacle containing

          20       the claimed “lower chamber.” Thus, by having two receptacles instead of one, Tamriel does not have

          21       a “single receptacle” containing both the “upper chamber” and the “lower chamber” as required by the

          22       stipulations on “reservoir” and “chamber.” Summary judgment should, as a result, be granted.

          23               Third, the Court can and should also grant summary judgment of validity over Antarctica

          24       because Asetek has no empirical evidence to support its conclusory opinion that Antarctica has

          25       “microchannels.” Asetek only offers conclusory testimonies that are legally insufficient to meet its

          26       high burden. Further, Asetek cannot satisfy its burden of showing that the only Antarctica sample

          27       provided is representative of Antarctica products sold before the priority date of CoolIT’s patents.

          28       II.     ARGUMENT
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               1           A.      Summary judgment of noninfringement should be granted because equivalents of
                                   “curved” shaped blades cannot cover completely straight shaped blades as a
               2                   matter of law

               3                   1.      Asetek’s nonlinear “curved” blades specifically exclude CoolIT’s linear
                                           blades and thus cannot cover them under DOE
               4
                           Asetek’s expert, Dr. Tuckerman, admits both that the claimed “curved” blades require “non-
               5
                   linearity” and that CoolIT’s blades are “linear.” (Compare Ex. 271, 12/30/2021 Tuckerman Tr., at
               6
                   53:5-8 (“A definition of curved blade. A blade that has an -- an arc to it. It’s not – it’s not everywhere
               7
                   linear.”) and 57:1-3 (“A curve, to me, implies that there is, you know, some nonlinearity to the shape
               8
                   of the blade so that it, you know, has an arc to it.”) with id. at 248:25 (“the CoolIT linear but not radial
               9
                   blades”) and 251:4-9 (“BY MS. BHATTACHARYYA [Asetek’s counsel]: Q                      And     by   ‘linear
          10
                   nonradial blades,’ are you referring to CoolIT’s impeller blades? THE WITNESS: Yes. That’s what
          11
                   I’m referring to in this case, yes.”) (emphasis added; objection omitted).) Put together, these two
          12
                   admissions preclude Asetek’s DOE theory because the nonlinearity required by “curved blades”
          13
                   specifically excludes “the CoolIT linear … blades,” as held by the Federal Circuit:
          14

          15              [T]he patentee cannot assert the patent against a metallic device on the ground that
                          a metallic device is equivalent to a non-metallic device. The unavailability of the
          16              doctrine of equivalents could be explained either as the product of an impermissible
                          vitiation of the “non-metallic” claim limitation, or as the product of a clear and
          17              binding statement to the public that metallic structures are excluded from the
          18              protection of the patent.

          19       SciMed Life Sys. v. Advanced Cardiovascular Sys., 242 F.3d 1337, 1347 (Fed. Cir. 2001) (emphasis

          20       added); see also id. (“‘specific exclusion’ principle is ‘a corollary to the “all limitations” rule’”)

          21       (quoting Athletic Alternatives, Inc. v. Prince Mfg., Inc., 73 F.3d 1573, 1582 (Fed. Cir. 1996)). Just

          22       like a claimed “non-metallic” device specifically excludes and cannot equivalently cover a “metallic”

          23       device, Asetek’s claimed “nonlinear[ ]” curved blades specifically exclude and cannot equivalently

          24       cover CoolIT’s “linear” blades.       See id.    That is, Asetek’s DOE theory vitiates the admitted

          25       “nonlinearity” requirement of the “curved” limitation and fails under the “specific exclusion principle”

          26       as a corollary to the “all limitations rule.” See id.; see also Asyst Techs., Inc. v. Emtrak, Inc., 402 F.3d

          27       1
                    All references to “Ex. 27” through “Ex. 31” are exhibits to the Reply Declaration of Reuben H.
                   Chen in Support of Defendants’ Reply Brief in Support of Their Motion for Summary Judgment,
          28       being filed concurrently herewith.
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               1   1188, 1195 (Fed. Cir. 2005) (holding that, under the “specific exclusion” principle, “the term

               2   ‘mounted’ can fairly be said to specifically exclude objects that are ‘unmounted’”) (emphasis added);

               3   accord. Capital Bridge Co. v. IVL Techs. Ltd., No. 04-cv-4002, 2006 WL 2585529, at *8 (S.D.N.Y.

               4   2006), aff’d, 232 F. App’x 987 (Fed. Cir. 2007) (granting summary judgment of no infringement where

               5   claim required use of wireless connections and the accused product used wired connections, finding

               6   that wireless connection could not encompass a wired-connection under the DOE).

               7          In sum, Asetek’s undisputed admissions that the claimed “curved” blades are nonlinear and

               8   that CoolIT blades are linear dispose of the inquiry because the nonlinear “curved” blades specifically

               9   exclude CoolIT’s linear blades and cannot cover them under DOE. SciMed, 242 F.3d at 1347.

          10                      2.     There is no material disputed issue of fact regarding Asetek’s failure to
                                         sustain DOE under the function-way-result analysis
          11
                                         a.      The “way” is undisputedly different
          12

          13              It is undisputed the purported CoolIT blades drive the cooling liquid in a “way” that is different

          14       from that of the purported “backward-curved blades” in Dr. Stein’s simulation. (ECF No. 426-3,

          15       Asetek’s Opposition (“Opp.”) at 8.) Indeed, Asetek admitted that Dr. Stein was “very happy to look

          16       at blades of slightly different lengths”—which confirms the liquid driven by the “backward-curved

          17       blades” traveled a different distance than that if driven by the purported CoolIT blades. (Id. at 7

          18       (emphasis added).) In a futile attempt to hide this difference, Dr. Stein offered an unsupported,

          19       conclusory statement that this undisputed difference in the ways the blades drive the fluid was a

          20       “triviality.” But he provided no explanation and no evidence to show the difference was trivial. (Id.

          21       at 7-8); see Schumer v. Lab’y Comput. Sys., Inc., 308 F.3d 1304, 1315-16 (Fed. Cir. 2002) (noting that

          22       “testimony is insufficient if it is merely conclusory”); Novartis Corp. v. Ben Venue Lab’ys, Inc., 271

          23       F.3d 1043, 1050-51 (Fed. Cir. 2001) (noting that an expert must set forth an “explicit factual

          24       foundation” for his opinions); accord TechSearch, L.L.C. v. Intel Corp., 286 F.3d 1360, 1371 (Fed.

          25       Cir. 2002); Invitrogen Corp. v. Clontech Lab’ys, Inc., 429 F.3d 1052, 1080 (Fed. Cir. 2005); Theis v.

          26       Graco, Inc., 763 F. App’x 641, 641-42 (9th Cir. 2019).

          27              Because it is undisputed that the purported CoolIT blades drive the liquid in an admittedly

          28       different way than that of the backward curved blades, the simulation fails at least the “way” prong of
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               1   the function-way-result analysis. Thus, summary judgment can and should be granted.

               2                         b.      Asetek has no evidence to meet the “result” test
               3          Further, Asetek’s purported simulation results and related expert testimonies fail to provide

               4   any evidence to meet the “result” prong. It is undisputed that the purported evidence relied upon by

               5   Asetek was not derived from or otherwise based on any actual CoolIT device accused in this case. As

               6   such, it is irrelevant. Indeed, Asetek does not dispute that the actual CoolIT impeller and the actual

               7   CoolIT device that the impeller operates in were never simulated by Dr. Stein nor analyzed by Dr.

               8   Tuckerman for DOE. (Opp. at 10.) Asetek nonetheless argues that this “is a non-issue because the

               9   appropriate comparison for the DOE analysis is between CoolIT’s impeller blades and backward-

          10       curved blades[.]” (Id.) But Asetek is wrong for at least two reasons. First, contrary to Asetek’s

          11       misrepresentation, the ’362 patent does not just “generically recite curved blades” (id.) because the

          12       surrounding claim language, “an impeller having curved blades,” in the asserted claim 17 of the ’362

          13       patent makes clear the “curved blades” at issue operate as part of an impeller. (ECF No. 1-1, ’362

          14       patent, claim 17 (emphasis added).) That is, how the claimed impeller operates in a device as a whole,

          15       including its blades, matters as the claim language dictates. Second, the admission that Dr. Stein

          16       simulated the non-CoolIT impeller in a non-CoolIT device (i.e., a so-called “‘generic’ pump” (Opp.

          17       at 9)) shows his results cannot demonstrate anything relevant to how the actual CoolIT impeller blades

          18       perform during real operations. See Laitram Corp. v. Cambridge Wire Cloth Co., 863 F.2d 855, 859

          19       (Fed. Cir. 1988) (finding application of DOE legally flawed; testing of accused products that do not

          20       simulate normal operating conditions are generally not relevant to showing infringement); see also

          21       Hilgraeve Corp. v. Symantec Corp., 265 F.3d 1336, 1343 (Fed. Cir. 2001) (“tests are not probative of

          22       infringement during normal operation of the accused products”); Whirlpool Corp. v. LG Elecs., Inc.,

          23       1:04-CV-100, 2006 WL 2035215, at *10 (W.D. Mich. July 18, 2006) (“Testing of accused products

          24       that do not simulate normal operating conditions are generally not relevant to showing infringement.”).

          25       Thus, no relevant evidence exits to meet the “result” prong.

          26              In sum, because it is undisputed that the simulation results and related expert testimonies are

          27       not based on any CoolIT device nor obtained under normal operating conditions, they are irrelevant

          28       and cannot support the “result” test under Asetek’s DOE theory. Thus, summary judgment should be
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               1   granted for lack of evidence. Celotex Corp. v. Catrett, 477 U.S. 317, 317-18 (1986).

               2                  3.      None of the cases cited by Asetek supports its DOE theory, and all of them
                                          are readily distinguishable
               3

               4          Asetek attempts to rely on Voda v. Cordis Corp. to argue “curved” can cover “straight” under

               5   DOE. But Voda does not support Asetek’s argument and actually held the converse based on vastly

               6   different facts that do not apply here. 536 F.3d 1311, 1326–27 (Fed. Cir. 2008). According to Asetek,

               7   “Voda clearly shows that straight may be mapped to curved … under DOE,” so “vice versa,” curved

               8   may be mapped to straight under DOE. (Opp. at 3.) But, as an initial matter, “a true statement’s

               9   converse is not necessarily true.” See Am. Hallmark Ins. Co. v. Or. Interiors, Inc., No. 3:17-cv-00344-

          10       SB, 2018 U.S. Dist. LEXIS 208702, at *26 n.5 (D. Or. Dec. 11, 2018) (citing Gilliam v. Nev. Power

          11       Co., 488 F.3d 1189, 1196 n.7 (9th Cir. 2007)). For example, you can say: “slightly curved is like

          12       mostly straight,” which makes sense. But you cannot then say, vice versa: “slightly straight is like

          13       mostly curved,” or even “straight is like curved,” which does not make sense.

          14              Indeed, that is how Asetek attempts to nonsensically apply Voda, which actually does not

          15       support Asetek’s “vice versa” theory. The Voda court found the equivalents of a “straight” or

          16       “substantially straight” portion of a claimed catheter could cover an insubstantially curved—or

          17       substantially straight—portion of a redesigned catheter. But it does not follow that “vice versa,” the

          18       equivalents of the nonlinear “curved” blades can therefore cover CoolIT’s linear blades here. This is

          19       at least because, admittedly and undisputedly, Asetek’s claimed “curved” blades are plainly nonlinear

          20       and CoolIT’s blades are plainly linear, so the dichotomy between the two is definitive and clear. In

          21       contrast, Voda dealt with concepts such as insubstantial curvature and substantial straightness that are

          22       simply not present here.

          23              The facts in Voda explain why. The claimed “straight” portion was part of “an elongate flexible

          24       tubular member in a relaxed state,” which by common sense was prone to bending and having some

          25       slight curvature at least due to its flexibility to begin with.2 See id. at 1316 (emphasis added). As the

          26       Voda patentee pointed out, even a “straight portion 40” of a preferred embodiment in the patent

          27
                   2
                    In contrast, CoolIT’s linear blades are made of rigid plastic materials that are not prone to curving
          28       or bending, as further explained below.
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               1   specification had “some very slight curvature”:

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          11
                   (Ex. 31, Voda v. Cordis Corp., No. 5:03-cv-01512-L, ECF No. 78 at 16 (W.D. Okla. Nov. 16, 2004)
          12
                   (highlighting added).) “In those instances,” the Voda patentee continued, “the importance of the
          13
                   particular ‘straight portion’ was not that it was ‘straight’ in the sense of having no curves, but that it
          14
                   was extending at an angle (or different direction) from the preceding portion, as the above language
          15
                   and figure make clear.” (Id.) The patent alone described “straight” as including slight curvatures. It
          16
                   is no wonder that in Voda, the Federal Circuit credited the expert’s testimony that the curvature added
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                   to the redesigned portion was so “insubstantial” that the “cardiologists would have difficulty
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                   distinguishing the two during use.” That is, the redesigned portion with only slight curvature was
          19
                   substantially straight and covered by the “straight” or “substantially straight” limitation under DOE.
          20
                   Voda, 536 F.3d at 1327. This can be seen by comparing the nearly identical preferred embodiment in
          21
                   the patent (left) with an accused product (right):
          22

          23

          24

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          26
                   (See Ex. 31, Voda, ECF No. 78 at 1 (a side-by-side comparison of “Figure 7 from Dr. Voda’s patents
          27
                   (on the left) to a photo of Cordis’ XB catheter (on the right)” reproduced above, showing that the
          28
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               1   horizontal straight portion of Cordis’ XB catheter (blue, on the right) is not completely straight and

               2   has some slight curvature.).)

               3          Asetek’s converse argument does not analogously apply to the facts here. The impeller blades

               4   at issue in this case are made of rigid, inflexible plastic materials to withstand and produce the pressure

               5   of the flowing cooling liquid during operation. (See, e.g., Ex. 3 3 , 12/08/2021 Abraham Non-

               6   Infringement Rep., ¶¶ 149-150 (showing a pressure (P) versus flow

               7   rate (Q) chart CoolIT blades produced during operation); see also id.,

               8   ¶ 65 (showing photo of rigid plastic impeller blades, reproduced at

               9   right).) Thus, for example, Asetek does not, nor can it, argue that,

          10       under Voda, CoolIT’s blades are substantially curved due to

          11       flexibility to be covered by the “curved” limitation under DOE. This

          12       is because CoolIT’s blades are admittedly (and rigidly) “linear” in their shape and literally are “not

          13       curved” at all as Asetek admits. (See, e.g., Ex. 27, 12/30/2021 Tuckerman Tr., at 251:5-9 (“Q

          14              And by ‘linear nonradial blades,’ are you referring to CoolIT’s impeller blades? THE

          15       WITNESS: Yes.”) (emphasis added; objection omitted); see also Opp. at 2 (admitting CoolIT’s

          16       “impeller blades … are not literally ‘curved’ in shape”) (emphasis added).)4

          17              The other cases cited by Asetek fair no better. For example, in Deere & Co. v. Bush Hog, LLC,

          18       for example, the Federal Circuit found no vitiation because “the district court [erroneously] construed

          19       ‘contact’ to require ‘direct contact,’ and thus [erroneously] found that allowing ‘no direct contact’

          20

          21       3
                     All references to “Ex. 1” through “Ex. 26” are exhibits to the Declaration of Reuben H. Chen in
                   Support of Defendants’ Notice of Motion and Motion for Summary Judgment (ECF No. 387-1),
          22       filed on March 31, 2022.
                   4
                     Further, in contrast to Voda, which focused on the shapes of substantially straight or insubstantially
          23       curved portions of flexible catheters, Asetek argument is that CoolIT’s blades are “non-radial,” which
                   has little to do with the “curved blades” original scope. Thus, Voda is further inapplicable here. See
          24       In re Papst Licensing GmbH & Co. KG Litig., 967 F. Supp. 2d 22, 33 (D.D.C. 2013) (distinguishing
                   Voda: “the lower court’s finding of infringement by equivalents [was upheld] because … the
          25       difference in shape … was … insubstantial”) (emphasis added); Vehicular Techs. Corp. v. Titan Wheel
                   Int’l, Inc., 212 F.3d 1377, 1382 (Fed. Cir. 2000) (common sense dictates that “the range of equivalents
          26       cannot be divorced from the scope of the claims”); Bicon, Inc. v. Straumann Co., 441 F.3d 945, 955–
                   56 (Fed. Cir. 2006) (“We hold that the district court correctly rejected [Plaintiff’s] theory that the
          27       trumpet-shaped surface of the neck of [Defendant]'s root member, which [Plaintiff] characterizes as
                   concave, is equivalent to the convex, frusto-spherical basal surface of the abutment that is described
          28       in the [asserted] patent.”).
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               1   would vitiate the court’s construction.” 703 F.3d 1349, 1355-57 (Fed. Cir. 2012). But no such

               2   erroneous claim construction exists here, and the admissions by Asetek’s expert that “curved” blades

               3   require “nonlinearity” and that CoolIT’s blades are “linear” are clear-cut and undisputed. (Compare

               4   Ex. 27, 12/30/2021 Tuckerman Tr., at 53:5-8 and 57:1-3 with id. at 248:25 and 251:5-9); see SciMed,

               5   242 F.3d at 1347. Thus, Deere does not apply here.

               6          Similarly, in another case cited by Asetek, Depuy Spine, Inc. v. Medtronic Sofamor Danek,

               7   Inc., the Federal Circuit found a factual dispute on the shape equivalency because the patentee’s expert

               8   declared that “the hollow conically-shaped portion of the [accused] receiver member--was

               9   insubstantially different from the corresponding ‘spherically-shaped’ limitation[.]” 469 F.3d 1005,

          10       1020 (Fed. Cir. 2006). That is, there was a dispute on whether a conical shape was substantially the

          11       same as a spherical shape. Here, there is no such dispute because Asetek’s own expert admitted that

          12       the claimed “curved” blades have “nonlinearity” and that CoolIT’s blades are “linear.” (Compare Ex.

          13       27, 12/30/2021 Tuckerman Tr., at 53:5-8 and 57:1-3 with id. at 248:25 and 251:5-9); see SciMed, 242

          14       F.3d at 1347. Thus, Depuy does not apply here.

          15              Contrary to Asetek’s argument, Graver Tank & Mfg. Co. v. Linde Air Products Co. does not

          16       stand for the proposition that shapes generally do not matter in a DOE analysis. 339 U.S. 605, 610

          17       (1950). That case dealt with the equivalency between chemical compositions of “two electric welding

          18       compositions or fluxes” and the issue of “whether the substitution of the manganese … is a change of

          19       such substance as to make the doctrine of equivalents inapplicable[.]” Id. Thus, the context in Graver

          20       does not support Asetek’s overgeneralized proposition that shapes never matter under DOE.5 Id. at

          21       609 (“What constitutes equivalency must be determined against the context of the patent, the prior art,

          22       and the particular circumstances of the case.”).

          23              Finally, Asetek cites Wilson Sporting Goods Co. v. David Geoffrey & Associates for the

          24       proposition that the equivalency doctrine is to expand the right to exclude to equivalents of what is

          25       claimed. 904 F.2d 677, 684-85 (Fed. Cir. 1990). While such proposition is correct by itself without

          26

          27       5
                    In fact, the Depuy case cited by Asetek shows that shapes can matter under DOE. 469 F.3d 1005,
                   1020 (identifying a dispute on whether “the hollow conically-shaped portion of the receiver member-
          28       -was insubstantially different from the corresponding ‘spherically-shaped’ limitation.”)
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               1   considering other factors, that is not what Asetek’s DOE theory does because it also vitiates the

               2   admitted “nonlinearity” requirement of the “curved” blades that specifically exclude CoolIT’s “linear”

               3   blades. Indeed, contrary to its incorrect assertion, Asetek does not just attempt “to claim those

               4   insubstantial alterations that were not captured in drafting the original patent claim but which could

               5   be created through trivial changes” under Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535

               6   U.S. 722, 733 (2002). Instead, Asetek actually attempts to rewrite the claims and capture “linear”

               7   blades with its “nonlinear[ ]” limitation under DOE, which is prohibited. See SciMed, 242 F.3d at

               8   1347.

               9           In sum, none of the cases cited by Asetek can save its DOE theory from summary judgment.

          10               B.     Summary judgment of non-infringement by Tamriel should be granted under
                                  stipulated constructions of “reservoir” and “chamber”
          11
                                  1.      No material factual dispute exists on Tamriel’s structures to preclude
          12                              summary judgment of non-infringement
          13               Contrary to Asetek’s assertion, there is no disputed fact on the structures of Tamriel, only on

          14       their labels. It is undisputed that Tamriel has a first structure (in yellow below) containing the alleged

          15       “upper chamber” and a separate second structure (in blue below) containing the alleged “lower

          16       chamber.” Asetek labels the first structure as a “subcomponent” and the second structure as a

          17       “reservoir housing,” while CoolIT labels the first structure as a first separable “receptacle” and the

          18       second structure as a second separable “receptacle.”            (Opp. at 15-16 (excerpt (Ex. 28 at

          19
                                                         First separable receptacle
          20                                                (CoolIT’s position)

          21

          22                                                                              1st structure
                                 1st structure        (Asetek’s position)
          23                                                                                             2nd
                                                                                                      structure
          24

          25
                                                      (Asetek’s position)
          26
                                2nd structure
          27
                                                     Second separable receptacle
          28                                             (CoolIT’s position)
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               1   COOLIT0036076 (shades and texts in color added)); Ex. 29 at COOLIT0036086 (excerpt (shades and

               2   texts in color added)).)

               3           As can be seen above-left, Tamriel’s two structures (yellow6 and blue) are separable because

               4   they are removably coupled together by screws.7 Asetek’s position is that the first structure is not a

               5   “receptacle,” but a “subcomponent” defining “top chamber” that is “mated/interconnected” with the

               6   second structure to form a “single receptacle.” (Opp. at 16.) CoolIT’s position is that the first structure

               7   is a first separable “receptacle” containing the alleged “upper chamber” and the second structure is a

               8   second separable “receptacle” containing the alleged “lower chamber.” They are separable because

               9   the two structures can be separated by removing the screws. Asetek does not dispute the second

          10       structure is a receptacle because Asetek calls it a “reservoir housing,” which is a receptacle under the

          11       parties’ stipulations.

          12               In sum, the issue boils down to only whether Tamriel’s first structure is a “receptacle.” If it is,

          13       then Tamriel does not meet the “single receptacle” requirement because under the parties’ stipulations,

          14       both of the alleged “upper chamber” and “lower chamber” must each be divided “compartment[s]

          15       within the [same single receptacle]” of the “reservoir.”8

          16
                   6
                     An additional portion of the first structure (yellow) that includes the impeller assembly, etc., sits on
          17       top and is not shown in COOLIT0036076 (left) but is shown in COOLIT0036086 (right). (See Exs.
                   28-29.)
          18       7
                     Asetek claims its expert’s testimony that the two structures, if separated, would “destroy the product”
          19       creates a factual dispute on their separability. (Opp. at 16.) But Asetek is wrong because it litigated
                   this issue before and had the Federal Circuit affirmed that two structures in products accused under
          20       the same ’362 patent are “removably coupled” together by screws even if separating them would
                   “damage the products[.]” See Asetek Danmark A/S v. CMI USA Inc., 852 F.3d 1352, 1359-60 (Fed.
          21       Cir. 2017) (emphasis added); (see also ECF No. 387 CoolIT’s Opening Br. (“Opening Br.”) at 20-21).
                   8
          22         As explained in CoolIT’s opening brief, the issue for determining non-infringement is based on the
                   stipulated claim constructions and the stipulated facts about the ’362 patent below:
          23          (1) “reservoir” means “single receptacle defining a fluid flow path”;
                      (2) “chamber” means “compartment within the reservoir” with “reservoir” construed as above;
          24          (3) The claimed “reservoir” in Asetek’s invention is a single receptacle that is divided into an
                           upper chamber and a lower chamber, with the upper chamber providing the pumping
          25               function and the lower chamber providing the thermal exchange function.
          26       As stipulated, because “chamber” means “compartment within the reservoir” that means “single
                   receptacle defining a fluid flow path,” each claimed “chamber” is a “compartment within the single
          27       receptacle defining a fluid flow path.” It follows that the claimed “upper chamber” and “lower
                   chamber” are, respectively, the upper compartment and lower compartment within the same “single
          28       receptacle” of the “reservoir.”
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               1                  2.      Tamriel does not meet the “single receptacle” requirement

               2          Tamriel’s first structure (yellow) is a “receptacle” under the word’s plain meaning. The only

               3   available evidence in the record on the meaning of “receptacle” is provided by CoolIT’s expert: “one

               4   that receives and contains something.” (Ex. 3, 12/08/2021 Abraham Non-Infringement Rep., ¶¶ 85-

               5   86 (Merriam-Webster’s Collegiate Dictionary: “receptacle” is “one that receives and contains

               6   something”).) Under this meaning, Tamriel’s first structure is indisputably a “receptacle” because it

               7   receives and contains the cooling liquid in the portions pointed to by the arrows, as shown below:

               8

               9

          10

          11

          12

          13

          14

          15

          16       (Ex. 7, Tuckerman 11/03/2021 Rep., ¶¶ 309-310 (red annotations original; other annotations added).)

          17       Asetek suggests that because its expert calls Tamriel’s first structure a “subcomponent” rather than a

          18       “receptacle,” somehow that creates a factual dispute. But it does not because Asetek’s expert never

          19       applied any specific plain meaning of “receptacle” to explain why Tamriel’s first structure is not a

          20       “receptacle.” Instead, he only insisted in conclusory statements that it is not and that it is instead a

          21       “subcomponent.” (See, e.g., id., ¶ 50.) But “[a] party may not overcome a grant of summary judgment

          22       by merely offering conclusory statements.” TechSearch, 286 F.3d at 1371 (citation omitted); see also

          23       Schumer, 308 F.3d at 1315-16 (“testimony is insufficient if it is merely conclusory”). By having two

          24       receptacles each respectively containing the “upper chamber” and “lower chamber” instead of just one

          25       containing both, Tamriel does not meet the “single receptacle” requirement, and summary judgment

          26       should be granted.

          27                      3.      Asetek’s nesting doll theory does not preclude summary judgment because
                                          Tamriel’s first structure can function as a receptacle independently of and
          28                              even away from Tamriel’s second structure
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               1          Asetek argues that Tamriel’s first structure (referred to by Asetek as “the top chamber

               2   subcomponent”) is “only a smaller receptacle contained within [Tamriel’s second structure, i.e.,] the

               3   larger receptacle that forms the reservoir housing, just like ‘nesting dolls contain many receptacles.’”

               4   (Opp. at 18.) But this argument is both incorrect9 and irrelevant. (See Ex. 3, 12/08/2021 Abraham

               5   Non-Infringement Rep., ¶¶ 235-239.) This is because the surrounding walls of the so-called “reservoir

               6   housing” within which “the top chamber subcomponent” is allegedly “nestled” are merely for cosmetic

               7   purposes. These walls just avoid a visually displeasing parting line between Tamriel’s first and second

               8   structures appearing on the outside of the overall device, and do not serve any pumping function and,

               9   in fact, do not even touch any liquid. It is important to note that the “reservoir” corresponds to a

          10       “single receptacle defining a fluid flow path” containing two fluidly functioning chambers, and is not

          11       merely a “housing” to house components as incorrectly characterized by Asetek. As CoolIT’s expert

          12       explains in his report, if the walls surrounding the purported “top chamber subcomponent” are

          13       removed (colored in light blue on the below-left), the device will function fluidly just the same, as

          14       shown below:

          15

          16

          17                                           Tubing
                                                       (gasket)
          18

          19

          20              As shown above, the first structure (yellow) in Tamriel does not need the surrounding walls

          21       (light blue) of the second structure (blue) to function fluidly, which are dry and serve no fluid related

          22       function. That is, Tamriel simply does not have a single receptacle divided into a fluidly functional

          23       “upper chamber” and a fluidly functional “lower chamber.” Rather, the two structures are two

          24       separably functional receptacles being connected by tubing (gasket) and removably coupled by screws

          25       (above-right). (See Ex. 3, 12/08/2021 Abraham Non-Infringement Rep., ¶¶ 235-239.) To drive home

          26
                   9
                     It is incorrect because there is no doll within a doll, and at least a portion of the first structure
          27       including the upper chamber is above the top of the second structure, as shown in Ex. 28 at
                   COOLIT0036076 (pump volute) and Ex. 29 at COOLIT0036086 (impeller assembly), on p. 9 and p.
          28       11 (showing pump volute and impeller assembly in topside view). (See n.6 supra.)
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               1   the point, Dr. Abraham had a demo made to show that Tamriel’s two structures can function as two

               2   receptacles independently of and away from each other, just like the prior art Ryu, as shown below:

               3
                                                                                            1st structure
               4

               5

               6                                                                           2nd structure
               7
                   (See id., ¶¶ 241-245 (red arrow added).) Tamriel’s first structure is a “receptacle” that can fluidly
               8
                   function independently of and away from the second structure. Thus, summary judgment is warranted.
               9
                                  4.      Asetek’s DOE theory fails because “single receptacle” specifically excludes
          10                              Tamriel’s two receptacles

          11
                          The requirement that the “single receptacle” of the claimed “reservoir” includes within it both
          12
                   the “upper chamber” and “lower chamber” precludes Tamriel’s two separate receptacles each
          13
                   respectively containing only one of the two chambers. This is because “[t]he concept of equivalency
          14
                   cannot embrace a structure that is specifically excluded from the scope of the claims.” See, e.g., Sage
          15
                   Prods., Inc. v. Devon Indus., Inc., 126 F.3d 1420, 1424–25 (Fed. Cir. 1997) (affirming summary
          16
                   judgment of noninfringement under DOE and refusing to find as an equivalent a slot with two
          17
                   constrictions below to be the equivalent of a slot with one constriction above and one below); Bell Atl.
          18
                   Network Servs., Inc. v. Covad Commc’ns Grp., Inc., 262 F.3d 1258, 1280 (Fed. Cir. 2001) (finding
          19
                   claim required two unidirectional channels and accused product used a single two-way channel,
          20
                   therefore, a finding of equivalents would vitiate the unidirectional limitation). Thus, summary
          21
                   judgment should be granted as to Asetek’s DOE theory.
          22
                                  5.      Asetek’s arguments based on patent specifications not at issue are
          23                              irrelevant and fail on the merits

          24              Asetek argument that Tamriel’s first structure (referred to by Asetek as “the top chamber

          25       subcomponent”) “fulfills the same function as the impeller cover 46A in Asetek’s preferred

          26       embodiment (shown in Figure 17 of the ’196 patent …)” is both irrelevant and meritless. (Opp. at 17.)

          27       Currently, only the ’362 patent is at issue, so any arguments based on Figure 17 of the ’196 patent

          28       should be ignored on procedural grounds alone. (See ECF No. 384, Scheduling Order (specifying
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               1   current motions are only about the ’362 patent).) But even on the merits, as shown above, Tamriel’s

               2   first structure can still operate as a receptacle independent of and away from the second structure,

               3   unlike the impeller cover 46A that can only function within the rest of the device. Thus, Asetek’s

               4   arguments do not create any factual dispute that precludes summary judgment.

               5           C.     Summary judgment of validity over Antarctica is warranted because Asetek has
                                  no empirical evidence that Antarctica has “microchannels” and also because
               6                  Asetek cannot show by clear and convincing evidence that the Asetek sample is
                                  representative of products on-sale before the priority date of CoolIT’s patents
               7
                           Summary judgment of validity over Antarctica should be granted because Asetek fails to
               8
                   present any empirical evidence regarding Antarctica’s alleged “microchannels.” Asetek alleges that
               9
                   “CoolIT turns a blind eye toward[s] all the [] testimony” identified in Asetek’s opposition brief. (Opp.
          10
                   at 23.) Not so. To the contrary, CoolIT addressed all of Asetek’s purported evidence of Antarctica’s
          11
                   microchannels. (Opening Br. at 23-24.) None of it can overcome summary judgment. First, it is
          12
                   undeniable that Asetek’s expert Dr. Tuckerman failed to rely on any empirical evidence to support his
          13
                   conclusory opinions. Dr. Tuckerman admitted he never recorded any measurements of microchannels.
          14
                   (Ex. 24 at 138:14-20; Ex. 13 at 14:22-15:3.) Dr. Tuckerman also admitted that he did not rely on
          15
                   delinquent Exhibit 27510 for his opinion. (Ex. 13 at 29:16-30:13.) Indeed, regarding Exhibit 275 he
          16
                   admitted that (1) he did not speak to anyone at Asetek to confirm what the materials depicted were
          17
                   and (2) he is unable to independently verify what the photo of the “machining document” says—he
          18
                   was not provided the document, he does not speak or read Danish, and he never had the document
          19
                   translated.11 (Ex. 25 at 13:1-13; Ex. 13 at 18:22-19:2, 22:4-16, 24:20-25:6.) Nor could Exhibit 275
          20
                   even satisfy Asetek’s burden to prove invalidity by clear and convincing evidence because it only
          21
                   allegedly shows information regarding a machining tool used to create Antarctica’s channels, not the
          22
                   actual Antarctica product12—let alone any proof that what is shown in the photo was the specific
          23

          24       10
                      CoolIT has filed a motion to strike Exhibit 275. (ECF No. 389.)
                   11
                      Asetek alleges that Dr. Tuckerman “was able to confirm based on a legend below the picture of the
          25       blades in Exhibit 275 that the blades were indeed ‘intended to give [] a nominal 1-millimeter’ cut.”
                   (Opp. at 23 (alteration in original).) Asetek appears to be pointing to the truncated box label at the
          26       bottom of picture. It is unclear what the box label represents and, in any event, since Dr. Tuckerman
                   spoke to no one at Asetek and cannot verify what the label represents, it would hardly be evidence, let
          27       alone clear and convincing evidence, even if Exhibit 275 were not struck (which it should be).
                   12
                      Dr. Pokharna testified that “the width of a channel is always more than the width of the tool being
          28       used.” (Ex. 30, 1/10/22 Pokharna Depo at 125:24-127:17.)
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               1   machining tool used to create the channels in the sole Antarctica sample produced in this case. In fact,

               2   Dr. Tuckerman testified that it was “not necessarily that particular Antarctica unit” that was made by

               3   the tool and “there was no representation made that the particular tool was used on that particular

               4   Antarctica.” (Ex. 13 at 24:20-25:6.)

               5             Second, it is undeniable that Mr. Eriksen’s testimony is uncorroborated testimony of an

               6   interested inventor and CEO and, further, that he admitted that his testimony regarding the widths of

               7   Antarctica’s channels was a “best guess.” (Ex. 10 at 117:20-25.) As such, neither Dr. Tuckerman’s

               8   testimony nor Mr. Eriksen’s testimony is based on any empirical evidence. As the party bearing the

               9   burden of proof and, further, needing to carry that burden by clear and convincing evidence, Asetek

          10       has no such evidence to point to. Summary judgment is, therefore, warranted.

          11                 Separately. summary judgment is warranted because Asetek cannot carry its burden to show

          12       that the specific Antarctica sample it produced is representative of the Antarctica products on sale

          13       prior to August 9, 2007. Asetek does not dispute that it did not produce evidence during discovery

          14       showing when the sample was manufactured or linking the sample to the single spreadsheet of sales

          15       data. In its opposition, Asetek submits a declaration from Mr. Eriksen, who provides the conclusory

          16       opinion that there was “only one version/generation of the cold plate” and, further, the sample he gave

          17       to Asetek’s counsel “is representative of the cold plates in all the Antarctica kits sold in the U.S. in

          18       2004-2006.” (Ex. I, ¶¶ 4, 5.) Mr. Eriksen’s conclusory statements are provided without any factual

          19       support, and “[a] party may not overcome a grant of summary judgment by merely offering conclusory

          20       statements.” TechSearch, 286 F.3d at 1371 (citation omitted). As the party bearing the burden, it was

          21       incumbent on Asetek to provide the necessary proof during discovery. Asetek failed to do, and

          22       summary judgment is, therefore, warranted because Asetek cannot show that the specific Antarctica

          23       sample it provided is representative of the Antarctica products on sale prior to August 9, 2007.

          24       III.      CONCLUSION
          25                 For the foregoing reasons, summary judgment of non-infringement of the ’362 patent, and

          26       validity of the ’330, ’284, and ’266 patents over Antarctica, should be granted.

          27

          28
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               1   Dated:    April 21, 2022           /s/ Reuben H. Chen

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                                                        16                 DEFENDANTS’ REPLY ISO MOTION FOR
                                                                                         SUMMARY JUDGMENT
